       Case 4:22-cv-00126-BRW-JTK Document 19 Filed 10/06/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

THOMAS CROCKETT,                                                                        PLAINTIFF
ADC #080478

v.                                   4:22CV00126-BRW-JTK

DEXTER PAYNE, et al.                                                               DEFENDANTS

                                              ORDER

        On October 4, 2022, Defendants Dexter Payne and Tabitha Carter (collectively,

“Defendants”) filed a Motion for Judgment on the Pleadings and brief in support.      (Doc. Nos. 16,

17).   If Plaintiff wishes to file a response to Defendants’ Motion, he must do so within thirty (30)

days of the date of this Order. 1   If Plaintiff does not do so, the Court will consider Defendants’

Motion without the benefit of Plaintiff’s response, and Plaintiff’s claims may be dismissed without

prejudice. LOCAL RULE 5.5(c)(2); FED. R. CIV. P. 12(c).

        IT IS SO ORDERED this 6th day of October, 2022.



                                              _________________________________
                                              JEROME T. KEARNEY
                                              UNITED STATES MAGISTRATE JUDGE




        1
         The Plaintiff is hereby notified of his responsibility to comply with the Local Rules of the
Court, including Rule 5.5(c)(2), which states, in part: “If any communication from the Court to a
pro se Plaintiff is not responded to within thirty (30) days, the case may be dismissed without
prejudice. Any party proceeding pro se shall be expected to be familiar with and follow the
Federal Rules of Civil Procedure.”
